Case 2:17-CV-03602-.]HS Document 1 Filed 08/10/17 Page 1 of 17
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fi1‘in§ and service of pleadings or other papers as re§uired by law, except as
provided by local rules of court Thls form, approved by the J udicial Con erence of the Umted States 111 eptember 1974, is required for the use of the lerk of Court for the
purpose of initiating the civil docket sheet (SEE INSTRUCTIONS ONNEXT PAGE OF THIS FORM) 7

I. (a) PLAINTIFFS DEFENDANTS

Adrian Cummins, D.D.S. A|isa Kauffman, D.D.S and Trustees of the University of Pennsy|vania

JS 44 (Rev, 06117)

 

County of Residence of First Listed Defendant . Phi|ade|phia
(IN U.S. PLAINTIFF CASES ONLI")

(b) County of Residence of First Listed Piaintiff Phi |ade|Ehia
(EXCEPTIN U.S. PLAJNHFF CASES)

NOTE; lN LAND CONDEM'NATION CASES, USE THE LOCATION OF
THIE 'I'RACT OF LAND INVOLVED.
C) At'tome s (P`irm Name, Aa'dress, and Telephane Number) Attorneys (IfKnown)

avid F. cComb, Esquire, Zarwin, Baurn, 1818 l\/|arket St., 13th Fl.,
Phi|ade|phia, PA, 19103, 215~569-2800

 

 

II. BASIS OF JURISDICTION (Place an “X" in Omz Box Only) III. ClTIZENSHIP OF PRINCIPAL PARTIES (P!ace an "X" in One Baxfor Pl'aintzj
(For Divzrsity Cases Only) and One Boxfor Defendant)
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U 2 U.S. Government |] 4 Diversity Citizen of Another State D 2 Cl 2 lncorporated and Principal Place ij 5 El 5
Def`endant (Indr`aa:e Cilizenship ofPam'es in llem III) of Business ln Another State
Citizen or Subject of a 13 3 El 3 Foreign Nan`on 13 6 13 6
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NATURE OF SUIT (Place an “X" 'n One Box Only)

     
 

 

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Related Seizure

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r:l 120 Man'ne ` cl 310 Airplan¢ n 365 Personai injury - omepeny 21 USC 881 n 423 withdrawal 0 376 Qui ram (31 USC
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|:l 150 Recovery of Overpaymen'c Cl 320 Assault,Libel &. Phandaceutica.l '» ` ` jj ’ 1 "l l:l 410 Antitmst
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Proceeding State Court Appeliate Coufc Reopened Another District Litigation - L_itigation -
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VI‘ CAUSE OF ACTION Brief description of cause;
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VII. REQUESTED IN Cl cHECK IP 'IHIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complainc:
COMPLAINT: UNDER RULE 23, F-R»Cv-P~ JURY DEMAND= 1a Yes \:lNo
VIII. RELATED CASE(S) ' _
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Case 2:17-CV-03602-.]HS Document 1 Filed 08/10/17 Page 2 of 17

]N THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Adrian Curnmins, D.D.S. 1 v CIVIL ACTION

v. :
Alisa Kauffman, D.D.S. and Trustees of the

University of Pennsylvania NO-

In accordance With the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shall, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to Which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) I-Iabeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255 . ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Beneflts. ' ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 5 3.2. ( )

(d) Asbestos v Cases involving claims for personal injury or property damage from
exposure to asbestos ( )

(e) Special Management _ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court (See reverse side of this form for a detailed explanation of special

 

 

 

management cases.) ( )
(t) Standard Management - Cases that do not fall into any one of the other tracks ( §§
August lO, 2017 l v Plaintiff, Adrian Cummins, D.D.S.
Date L/Attorn'ey-'at-lavv \ Attorney for
215-569-2800 215-569-1606 dfmccomb@zarwin.com
T_elephone FAX Number E-Mail Address

(civ. 6601 10/02

 

Case 2:17-cv-OS€O€_N}|E|]§D WAUU§,}RBII€@S§Q,P/l? Page 3 of 17

FOR THE EASTERN D!S'I`RICT OF PENNSYLVANIA _ DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Address of Plaintiff:Adrian Cummins~ 2020 Walnut Street. Philadelphia, PA 19103
Address of Det`endant:Alicia Kauffman and ri“rustees of the Universit\/ of Pennsylvania, 3451 Walnut Street, Room 310, Philadelnhia Perm§glvania 19104

Place of Accident, Incident or Transaction; Philadelphia
(Use Reverse Sr`de For Addr`rr`onal Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statement Fonn in accordance with Fed.R.Civ.P. 7. l (a)) Yes |:| No m
Does this case involve multidistrict litigation possibilities? Yes|I| No g
RELATED CASE, IFANY:

Case Number: Iudge Date Terminated:

 

 

Civil cases are deemed related When yes is answered to any of the following questions:

1. ls this ease related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

Yele Ne 13
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesl:l No g

3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yesl:l No g

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes l:l No@

 

CIV]L: (Plece |/ in ONE CATEGORY ONLY)

A Federal Questioii Cases: B. Diversity.!urisdi'crion Case.\':

1. |J lndemnity Contract, Marine Contract, and All Other Contracts l. ill bisurance Contract and Other Conn‘acts

2. m FELA 2. cl Aifplane Personai injury

3. Cl lones Act-Personal Injury 3. |J Assault, Defa.mation

4. |I| Antitrust 4. |Zl Marine Personal Injury

5. E| Patent 5 . |J Motor Vehicle Personal Injury

6. ll Labor-Management Relations ' ' 6. E| Othei' Personal Injury (Please
Specify)

i. di civil nights 7. i:l Preducrs Liability

8. E\ Habeas Corpus 8. |Il Products Liability_Asbestos

9. 13 Securities Act(s) Cases 9. 13 All other Diversity Cases

10. |J Social Security Review Cases (Please speeify)

ll. El All other Federal Question Cases

(Please specify)

ARBITRATION CERTIFICATION
/;`/ (Check Appropriate Category)
. counsel of record do hereby certify:

|§(Pursuant to Local Civil Rule 53. 2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable m this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
13 Relief other than monetary damages is sou

35754

 

DATE: AUngSt 10, 2017

 

 

A`ttomey-a't-Law "' Attorney I.D.#

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

35754

 

DATE: Aug'l.l$t lO, 2017

 

Attom`e'y~at-Law y ( Attorney I.D.#
CIV. 609 (6/08)

 

 

Case 2:17-CV-03602-.]HS Document 1 Filed 08/10/17 Page 4 01 17

AO 440 (Rev. 12/09) Summons in a Civil Action

UNITED STATES DISTRICT CoURT

for the
Eastern District of Pennsylvania

ADR|AN CU|V|IV|[NS, D.D.S

 

Plafrzti]j"

v. Civil Action No.

AI_[SA KAUFFI\/|AN, D.D.S. and TRUSTEES OF THE
UN|VERS|TY OF PENNSYVAN|A

 

`-_#\»/\_J\_/\_/`~/\.,/

Defendanr

SUMMONS IN A CIVIL ACTION

TO: (De}%ndant'x name and address) TRUSTEES OF THE UN|VERS|TY OF PENNSYVAN|A
3451 Wa|nut Street, Room 310
Phi|ade|phia, Pennsy|vania 19104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer -'or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: David F_ M<;Comb, Esquire

Zarwin, Baum, DeVito, Kap!an, Scaher & Toddy, P.C.
1818 |Vlarket Street, 13th F|oor

Phi|adelphia, PA 19103

dfmccomb@zarwin.com

If you fail to respond, judgment by default will "be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court

Mz`chael E. Kunz
Clerk of Court

Date:

 

Signature ofClerk or Deputy C/erk

 

Case 2:17-CV-03602-.]HS Document 1 Filed 08/10/17 Page 5 01 17

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE
( T his Section Should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

ThlS Sllmn‘lOl‘iS for (name of individual and title, ifany)

 

was received by me on (dare)

[J I personally served the summons on the individual at (l_)lrice)

 

on (dme) § 01

 

\J l left the summons at the individual’s residence or usual place of abode with (mme)

, a person of suitable age and discretion who resides there,

 

on (dme) , and mailed a copy to the individual’s last known address; or

Cl l served the summons on (name ofindividual) , Who is

 

designated by law to accept service of process on behalf of (name aforganizarion)

 

 

 

01‘1 (date) , § 0!'
El l returned the summons unexecuted because ; or
l:l O'£her (speci]j)).'
My fees are $ for travel and $ for services, for a total of $ 0_00

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

 

Server ’s address

Additional information regarding attempted service, etc:

 

Case 2:17-CV-03602-.]HS Document 1 Filed 08/10/17 Page 6 of 17

AO 440 (Rev, 12/0.9) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the
Eastern District of Pennsylvania

ADR[AN CU|V|IVI|NS, D.D.S

 

Plafntijj‘

v. Civil Action No.

AL|SA KAUFF|V|AN, D.D.S. and TRUSTEES, OF THE
UN|VERS|TY OF PENNSYVAN|A

 

\_/\_J\_/\_/\_/V\_/

Defendant

SUMMONS lN A CIVIL ACTION

TOI (Defendarzt’sv name and address) A]_lSA KAUFFMAN, D.D.S.
3451 Walnut Street, Room 310
Phi|ade|phia, Pennsy|vania 19104

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: David F. |VlcComb, Esquire

Zarwln, Baum, DeVito, Kap|an, Scaher & Toddy, P.C.
1818 Nlarket Street, 13th Floor

Phi|ade|phia, PA 19103

dfmccomb@zarwin.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

illicitan E. Kunz
Clerk ofCourr

Date:

 

Signature ofCIerk or Depuly Clerk

 

Case 2:17-cV-03602-.]HS Document 1 Filed 08/10/17 Page 7 of 17

AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 

Civil Action No.

PROOF OF SERVICE v
(This section should not be filed with the court unless required by .Fed. R. Civ. P. 4 (D)

ThiS SU.II]_IIIOI!S fOI' (name of individual and titie, if any)

 

was received by me on (da:e}

l"_'l I personally served the summons on the individual at (place)

 

On (date) ; 01‘

 

l:l l left the summons at the individual’s residence or usual place of abode With (name)

, a person of Suitable age and discretion Who resides there,

 

on (dare) , and mailed a copy to the individual’s last known address; or

ij I Served the summons on (name of individual) , Who is

 

designated by law to accept service of process on behalf of (name oforganizmion)

 

 

 

01'1 (date) ; OI`
ij I returned the summons unexecuted because ; or
|:l Oth€r (spect`jj)):
My fees are $ for travel and $ for services, for a total of $ 0.00

l declare under penalty of perjury that this information is true.

Date:

 

Server ’.s‘ signature

 

Prz'nted name and title

 

Server 's address

Additional information regarding attempted service, etc:

 

Case 2:17-cV-03602-.]HS Document 1 Filed 08/10/17 Page 8 0f'17

IN THE' UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA
ADRlAN CUMMINS, D.D.S

Plaintiff, .
V. CIVIL ACTION NO.

ALISA KAUFFl\/IAN, D.D.S.
and

TRUSTEES OF THE UNIVERSITY OF

PENNSYLVANIA,
Defendants.
COMPLAINT
l. Plaintiff, Adrian Curnrnins, D.D.S, brings this action pursuant to Title VII

of the Civil Riglits Act of 1964, as amended, 42 U.S.C. §2000€ et seq., and 42 U.S.C
§l981 to remedy acts of employment discrimination perpetrated against him by his
employer. Dr. Cunnnins contends that defendants discriminated against him by paying
him less than his White colleagues because of his race (African-American), creating a
hostile Working environment for him, and forcing the constructive termination of his
employment
JURISDICTION

2. This Court has jurisdiction over the subject matter of this civil action
pursuant to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-l 6. Plaintiff
exhausted his administrative remedies by timely filing a charge of discrimination With the

United States Equal Employment Opportunity Comrnission (“EEOC”). The EEOC issued

 

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a right to sue letter on July 21, 2017, and this action is timely filed Within 90 days of
issuance of the right to sue letter.
M

3. Venue is proper in this judicial district under 42 U.S.C. Section 2000ej
5(f)(3) and 28 U.S.C. Sec l39l(b)(2) as the action arose in this District, plaintiff resides
in this District and a substantial part of the events giving rise to the action occurred in this
District.

PARTIES

4. Dr. Curnrnins, an African-American male, is a resident of the
Comrnonwealth of Pennsylvania and resides at 2020 Walnut Street, Philadelphia, PA
19103. At all times relevant to his suit, until the constructive termination of his
employment in June 2016, he Was employed as a General Dentist in the Penn Dental
Farnily Practice (“PDFP”), owned and operated by the Trustees of the University of
Pennsylvania.

5. Defendant the Trustees of the University of Pennsylvania (“Penn”)
operate, control and set policies for a university of higher learning and provider of health
and dental care services, including the PDFP, and are located at 3451 WalnutStreet,
Room 310 in Philadelphia, Pennsylvania. Penn is duly-organized and exists as a non-
profit corporationunder the laws of Pennsylvania.

6. Defendant Alisa Kauffman is currently the Clinical Director of the PDFP

and, at all relevant times, Was Dr. Cummins’ supervisor.

 

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STATEMENT OF FACTS

7. In April 2015, Dr. Cummins Was recruited to work for the University of
Pennsylvania as a general dentist in the PDFP located in Philadelphia, PA. He was
interviewed by Dr. Kauffman, Dean Denis Kinane of the Penn Dental School, and Dawn
Simpson, the PDFP Director of Operations.

8. During the interview, Dr. Cumrnins was told that the PDFP was looking
for a general practice dentist to work at the new office, located at 3737 Market Street, and
build a practice there. They mentioned that his compensation would be 37% of
collections, i.e. what he billed for services, however they Would not directly answer What
his base salary would be. They simply stated he would be given a “floor” for his first
three months, then based on his collections during those three months his salary for the
next quarter Would be determined

9. Dr. Kauff`man emailed Dr. Cummins after the first interview in response to
an email, letting him know that the next step in the interview process would be for him to
meet with their Clinical Advisors, the Director of Human Resources, and the Dean.

l0. At the end of May 2015, with his out-of- state dental residency ending
June 30, 2015, Dr. Cummins communicated with Dr. Kauff`man about the position, and
she confirmed that Dr. Curnmins had a job offer from Penn and his base salary Would be
$ l 00,000.

ll. However, on Iune 23, 2015, after Dr. Cummins had signed a lease on an
apartment and committed.to relocating to Philadelphia, he received an offer letter which
stated that his base salary was $50,000. When Dr. Cummins called Dr. Kauffman about

this, she said that all Penn Dental contracts say $50,000 because that’s the University’s

 

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Standard entry salary for new hires, however that would have no bearing on What she
discussed and not to mention after three months he would be paid in accordance with his
collections numbers _

12. Dr. Curnmins was also concerned that while he had agreed and was told he
would work at the new 3737 Market Street location of PDFP and had based his decision
on where to live to be in close proximity to work, his offer letter said that he Would be
working at the Locust Walk location, which is located at the Penn Dental school

13. When Dr. Cummins returned to Penn,on .lune 23, 2015, to obtain his
credentials, Dawn Simpson, the PDFP Operations Director told him that he was to be
placed at Penn’s Bryn l\/Iawr, PA location As Dr. Cummins now effectively had moved
to Philadelphia, he had no choice but to comply.

l4. With regard to his compensation, Dr. Cummins started his employment at
PDFP on July l, 2015 and, at the end of September, received a pay summary for the
coming quarter that was close to $3000/month below what his production and collection
numbers indicated 111 addition, Dr. Cummins noted that he had been receiving monthly
compensation in accordance With the $50,000 annual salary (Which he was told was only
a formality), and not the 3100,000 salary Dr. Kauffman had told him that all new dentists
at Penn Dental Family Practice receive

15. Dr. Cummins was also concerned by other aspects of Dr. Kauffman’s
behavior. F or example, during his second interview, she gave him a tour of the dental
school and Dr. Cummins mentioned that his mother had gone to dental school with Dr.
Beverly Crawford, Who also worked at PDFP and is one of the only black dentists there.

Dr. Kauffman said she doesn’t understand why she and Dr. Crawford didn’t get along,

 

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but that Dr. Crawford was the I-Iead of Diversity for the PDFP and “wishes that
everything didn’t have to be about race with her all the time.”

16. ln July 2015, after his employment had started, Dr. Kauffman told Dr.
Cummins that he should take advantage of being able to take classes at the University as
“a good way to meet women.” ln August 2015, Dr. Kauffman invited Dr. Cummins for a
drink at the Hotel Palomar (where she frequently stayed) to discuss how things were
going, and said Dr. Cummins “would do really well dating in Philadelphia as a single,
black dentist.” In the same conversation, Dr. Kauffman told Dr. Curnrnins he should
consider dating around “as a means to build up his patient base.” Dr. Kauft`man also
made sexually inappropriate statements such as suggesting Dr. Cummins request
drcum@dental.upenn.edu as his University issued email address as a way to be
memorable.

17. In November 2015, Dr. Kaui`linan told Dr. Cummins that he would be
better off working at the Locust Walk location at 40th Street in Philadelphia rather than
the Bryn Mawr location because “no one in Bryn Mawr wants to see a big black dentist.”

18. In April 2016, Dr. Kauffman suggested that Dr. Cummins keep an eye out
with his patients for potential romantic interests In addition, on one occasion, Dr.
Kauffma.n asked Dr. Cummins why he wouldn’t wear scrubs, and he told her he always
preferred to wear a shirt and tie. She responded that it’s probably a good idea since “no
one would think you really are a dentist if you wore scrubs.”

19. Thereafter, there were several occasions where as Clinical Director and
the person approving treatment plans and insurance reimbursement, Dr. Kauffman

wanted Dr. Cum.mins to provide more treatment than was clinically warranted and not to

 

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the benefit of the patient, although it would generate more revenue Dr. Cummins voiced
his concerns and cited clinical data and research to support his position Shortly after this,
after about nine months of work with no patient complaints, no failed treatments and no
treatment that needed to be redone, Dr. Cummins was suddenly told by Dr. Kauffman
that his work was “not up to Penn’S standards.”

20. During a subsequent meeting with Dr. Cummins, Dr. Kauffman and Dawn
Simpson where Ms. Simpson commended Dr. Curnmins for being willing to have his
schedule and location changed suddenly without complaining, Dr. Kauffman stated “well
you remember what happened to the last person here who complained” j a statement
directly related to a former colleague of Dr. Cummins and employee of PDFP who
complained about treatment not clinically warranted and was fired.

21. Dr. Kaut`fman then had other doctors in the office and one of the
technicians at the dental lab secretly report to her about his work, without his knowledge,
and then insisted that Dr. Cummins “remediate,” meaning that even though he was a
licensed practitioner, she wanted him to receive additional training from the Dental
School. In one instance, she attempted to make Dr. Curnmins remediate with the second
year pre-doctoral faculty at Penn. v

22. These were all an attempt to embarrass, demean and belittle Dr. Cummins,
and they had no correlation to either his clinical skills or patient care. In fact, prior to this
occurring, Dr. Cumrnins had been appointed by Dean Kinane, the Dean of the Penn
Dental School, as the Clinical Advisor for the Locust Walk practice, an indication that he

was well-regarded by the Dean, and someone expected to develop and take a leadership

role at PDFP.

 

 

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23. Despite the recognition by the Dean of his superior clinical skills, Dr.
Kaufman nevertheless told Dr. Cummins (in front of others at the Practice) that he could
no longer perform crown and bridge procedures (essentially the most common and
lucrative procedures a general dentist at PDFP did), because he did not reply to her email
suggesting he take a class with second year dental students

24. Dr. Kauffman went so far as to manipulate patient records and
radiographs in an attempt to disparage work completed by Dr. Cummins and fabricate
just cause to forbid him from performing his most lucrative procedures

25 . Without the ability to do crowns and bridges, Dr. Cummins’ income fell
off dramatically, and he was humiliated in front of his peers and colleagues

26. Dr. Cummins is unaware of any other PDFP dentist ever being instructed
to receive “remediation” training He was a skilled and experienced dentist, had served
as a Chief Dental Resident when he was personally recruited to come to Penn, and
appointed Clin.ical Advisor to the Practice, putting him in a role to consult on clinical and
operational issues at PDFP.

27 . At the same timc, Dr. Curnmins learned that all of the other recently-hired
dentists, who were white, had been started at a salary of $100,000. For example, Dr.
Steven Pesis is a white male whose background and experience was identical to Dr.
Cummins, and received a $100,000 starting salary.

28. Dr. Cummins also was disturbed that Penn had promised him he would be
operating out of two operatories, which are the areas in which dental procedures are

performed However, defendants scheduled him to work from only one operatory, saying

 

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there was lack of available rooms although there were several unused rooms both at the
Bryn Mawr office and at the dental school.

v 29. When Dr. Cummins raised this issue, defendants then claimed that the
issue was a lack of Dental Assistants, which was also untrue Defendants also blamed a
lack of patients.

30. Otlier white dentists, such as Dr. Pesis and,Dr. lack Tsai, immediately got
a second room, and the dentist hired by defendants at the Bryn Mawr location after Dr.
Cummins left was immediately booked for two rooms. ln fact, it appears that Dr.
Cummins was the only full-time general dentist in PDFP’s three locations who was not
given two rooms, except for one dentist in Bryn Mawr who did not want two rooms.

31. In lune 2016, after learning that he had been hired at a starting salary of
50% less than his white peers, subjected to repeated demeaning and inappropriate
comments about his race, given fewer operatories to work in than his white colleagues,
and told by Dr. Kauffrnan that he could do nothing other than teeth cleanings and fillings
without going back to Dental School, Dr. Cummins decided that the combination of
circumstances at Penn made it impossible for him to remain at Penn so long as Dr.
Kauffman was there.

32. Dr. Kauffman controlled his production, attempted to dictate his treatment,
and would manage any potential patient complaints or untoward outcomes of said
treatment however she deemed fit. `Helr behavior was not only detrimental to Dr.
Cummins’ wellbeing, but was potentially damaging to his license, reputation, and ability
to practice the profession he continually strives to excel in.

33. Dr. Cummins resigned, feeling he had been constructively discharged

 

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w
(Racial Discrimination in Violation of Title Vll) (Penn)

34. The foregoing paragraphs are re-alleged and incorporated by reference
herein.

35. The Defendants’ conduct as alleged at length herein constitutes
discrimination based on race in violation of Title VII.

COUNT II
(Hostile and Abusive Working Environment in Violation of Title VII and
Constructive Discharge) (Penn)

36. The foregoing paragraphs are re-alleged and incorporated by reference
herein

37. Defendants’ conduct as alleged above constituted such a hostile and
abusive working environment in violation of Title Vll that it constituted a constructive
discharge of Dr. Cummins’ employment

v COUNT III
(42 U.S.C. § 1981 Race Discrimination in the Making and Enforcement of
Contracts) (Penn and Dr. Kauffman)

38. The foregoing paragraphs are re-alleged and incorporated by reference
herein. f

39. The Defendants’ conduct as alleged at length herein constitutes
discrimination in the making of a contract

PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that the court award hirn:

(a) the sum of $300,000.00 in compensatory damages suffered because of the
discrimination and retaliation;

(b) punitive damages;

 

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(c) back and front pay; q

(d) costs and reasonable attorneys1 fees incurred with this lawsuit with interest

thereon; and

(e) other damages and further relief as deemed just.

Plaintiff requests trial by jury.

DATED: August 9, 2017

JURY DEMAND

Respectfully submitted,

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